Case 2:04-cr-20243-SH|\/| Document 94 Filed 08/11/05 Page 1 of 2 _`_P‘age|[),.l?>l

 

Hi
IN THE UNITED STATES DISTRICT coURT 'ED B"' ~ °-c-
FOR THE wESTERN DISTRICT 0F TENNESSEE
WESTERN DIVISION USAUG ll PH 2=36
C\.EH(, US rVqF{l'(`TC{)I,HT
UNITED STATES oF AMERICA, -'~¢ y
W/D OF 941 MEMPHS
vs. No. 04»20243-MaA

RONDA WHITE ,

Defendant.

 

ORDER OF REFERENCE

 

Before the court is defendant's July 28, 2005, motion for
bond hearing.

This matter is hereby referred to the magistrate judge for a
hearing and determination.

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rt is so oRDERED this ll day of August, 2005.

 

 

ANIEL BREEN fof
S EL H. MAYS, JR.
ED STATES DISTRICT JUDGE

Th‘\s dochent entered on the docket sheet ln camping
with Fl.\|a 55 andlor 321\)) FRCrP on ' '

 

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This notice confirms a copy of the document docketed as number 94 in
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Honorable Samuel Mays
US DISTRICT COURT

